             UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                   HOUSTON DIVISION


 Richard Lowery, on behalf of himself
 and others similarly situated,

                        Plaintiff,

 v.

 Texas A&M University System; Tim
 Leach, in his official capacity as
 chairman of the Board of Regents of the
 Texas A&M University System; Bill
 Mahomes, in his official capacity as Vice
 Chairman of the Board of Regents of the
 Texas A&M University System; Robert
                                                  Case No. 4:22-cv-3091
 L. Albritton, James R. Brooks, Jay
 Graham, Michael A. Hernandez III,
 Elaine Mendoza, Michael J. Plank,
 Cliff Thomas, and Demetrius L.
 Harrell Jr., each in their official
 capacities as members of the Board of
 Regents of the Texas A&M University
 System; Annie S. McGowan, in her
 official capacity as Vice President and
 Associate Provost for Diversity at Texas
 A&M University; N.K. Anand, in his
 official capacity as Vice President for
 Faculty Affairs at Texas A&M University,

                        Defendants.


                         CLASS-ACTION COMPLAINT
      Federal law prohibits universities that accept federal funds from discriminating on
account of race or sex. See 42 U.S.C. § 2000d (Title VI); 20 U.S.C. § 1681 (Title IX).
The Texas A&M University System is flouting these requirements by using race and
sex preferences in faculty hiring and compensation — a practice that violates the clear
and unequivocal text of Title VI and Title IX, as well as the Equal Protection Clause



class-action complaint                                                         Page 1 of 8
of the Fourteenth Amendment. The plaintiff brings suit to enjoin these discriminatory
practices, and to ensure that all components of the Texas A&M University System

comply with their obligations under federal anti-discrimination law.

                         JURISDICTION AND VENUE
    1.    The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.
    2.    Venue is proper because a substantial part of the events giving rise to the

claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).

                                       PARTIES
    3.    Plaintiff Richard Lowery is a resident of Texas and an associate professor of
finance at the University of Texas at Austin.
    4.    Defendant Texas A&M University System is located in College Station,
Texas. It can be served at its Office of the General Counsel, located at 301 Tarrow
Street, College Station, Texas 77840-7896.
    5.    Defendants Tim Leach, Bill Mahomes, Robert L. Albritton, James R.
Brooks, Jay Graham, Michael A. Hernandez III, Elaine Mendoza, Michael J. Plank,
Cliff Thomas, and Demetrius L. Harrell Jr. are chair, vice-chair, and members of the
Board of Regents of the Texas A&M University System. Each of these defendants is
sued in their official capacity.
    6.    Defendant Annie S. McGowan is Vice President and Associate Provost for
Diversity at Texas A&M University. She is sued in her official capacity.
    7.    Defendant N.K. Anand is Vice President for Faculty Affairs at Texas A&M
University. He is sued in his official capacity.

                             STATEMENT OF FACTS
    8.    The Texas A&M University System, along with nearly every university in
the United States, discriminates on account of race and sex when hiring its faculty, by




class-action complaint                                                       Page 2 of 8
giving discriminatory preferences to female or non-Asian minorities at the expense of
white and Asian men. This practice, popularly known as “affirmative action,” has led

universities to hire and promote inferior faculty candidates over individuals with better
scholarship, better credentials, and better teaching ability.
    9.     These race and sex preferences are patently illegal under Title VI and Title
IX, which prohibit all forms of race and sex discrimination at universities that receive
federal funds. But university administrators think they can flout these federal statutes
with impunity because no one ever sues them over their discriminatory faculty-hiring
practices and the Department of Education looks the other way.
    10. These discriminatory, illegal, and anti-meritocratic practices have been
egged on by woke ideologues who populate the so-called diversity, equity, and inclu-
sion offices at public and private universities throughout the United States. The exist-
ence of these offices is subverting meritocracy and encouraging wholesale violations
of civil-rights laws throughout our nation’s university system.
    11. On July 8, 2022, a memo was sent from the Texas A&M “office for diver-
sity,” to all deans at the university. The memo was signed by Annie McGowan, the
vice president and associate provost for diversity, and N.K. Anand, the vice president
for faculty affairs. The memo says:

         Effective July 1, 2021, Texas A&M was officially recognized as a His-
         panic Serving Institution (HSI) by the United States Department of
         Education. As an HSI, Texas A&M is charged with expanding the ca-
         pacity of low-income, first-generation Hispanic students, and other un-
         derserved students and their communities. Increasing opportunities for
         underserved students to interact and engage with faculty that share
         their ethnic, life, and cultural experiences are essential to achieving this
         goal. The presence of faculty of color is also integral to the University’s
         mission to provide the highest quality of undergraduate and graduate
         education and develop new understandings through research and crea-
         tivity.




class-action complaint                                                            Page 3 of 8
       ACES Plus was created to ensure promising faculty to come to Texas
       A&M. For the FY 23 and FY 24, the VP for Faculty Affairs will allocate
       a sum of $2 million for the ACES Plus Program. The funds will be used
       to provide 50% matching base salary and benefits, up to a maximum
       contribution of $100,000 (salary and fringe) for new mid-career and
       senior tenure-track hires from underrepresented minority groups,
       that contribute to moving the structural composition of our fac-
       ulty towards parity with that of the State of Texas. Consistent with
       our land-grant mission, and as defined NIH policy, Texas A&M defines
       URMs as African Americans, Hispanic/Latino Americans, Native
       Americans, Alaskan Natives, and Native Hawaiians.
See Exhibit 1 (emphasis added).

    12. Texas A&M’s decision to set aside funds to supplement the salaries of faculty
members from “underrepresented minority groups” is a flagrant violation of Title VI.
    13. Texas A&M’s proclaimed goal of establishing a faculty whose racial compo-
sition attains “parity with that of the state of Texas” seeks to achieve racial balancing,
which is flatly illegal under Title VI and the binding precedent of the Supreme Court.
See Grutter v. Bollinger, 539 U.S. 306, 330 (2003) (“[O]utright racial balancing . . .
is patently unconstitutional.”).
    14. Texas A&M University has also established faculty-hiring lines that are re-
served exclusively for members of “underrepresented” (read: non-Asian) racial minor-
ities. On August 26, 2022, a faculty member at Texas A&M’s business school e-mailed
Shane A. Johnson, the head of the recruiting committee for the department of finance
for 2022–23 academic year, after hearing that one of the faculty-hiring lines in the
department of finance was being set aside for an “underrepresented” racial minority.
See Exhibit 2 (“I heard from someone that one of our lines is reserved for an ‘un-
derrepresented minority.’ Is that correct?”).
    15. Later that day, Professor Johnson e-mailed back confirming that this was
indeed the case:

       The underrepresented line would potentially be a third position, so yes
       reserved, but not one of our “regular” positions.



class-action complaint                                                         Page 4 of 8
Exhibit 2.

                      FACTS RELATED TO STANDING
     16. Professor Richard Lowery is an associate professor of finance at the Univer-
sity of Texas at Austin.
     17. Professor Lowery stands “able and ready” to apply for a faculty appointment
at Texas A&M University. See Carney v. Adams, 141 S. Ct. 493, 499–500 (2020);
Gratz v. Bollinger, 539 U.S. 244, 261 (2003); Northeast Florida Chapter of Associated

General Contractors of America v. City of Jacksonville, 508 U.S. 656, 666 (1993).
     18. But the racial preferences and set-asides established by Texas A&M prevent
Professor Lowery from competing with other applicants for these faculty positions on
an equal basis. This inflicts injury in fact. See Gratz, 539 U.S. at 261; Jacksonville, 508
U.S. at 666.
     19. This injury is caused by Texas A&M’s use of racial preferences and set-asides
in faculty hiring, and it will be redressed by a declaratory judgment and injunction
that bars the university from considering race or sex when appointing or compensat-
ing its faculty.
     20. Professor Lowery sues on behalf of a class of all white and Asian men who
stand “able and ready” to apply for faculty appointments at Texas A&M.

       COUNT 1— VIOLATIONS OF TITLE VI AND TITLE IX
     21. Texas A&M University and its components are violating Title VI and Title
IX by discriminating in favor of female and “underrepresented” minority faculty can-
didates and against white and Asian men.
     22. Texas A&M University is a “program or activity” that “receives Federal fi-
nancial assistance” within the meaning of Title VI and Title IX.
     23. Professor Lowery therefore seeks declaratory and injunctive relief that pro-
hibits the Texas A&M University System from discriminating on account of race and




class-action complaint                                                          Page 5 of 8
sex in the appointment, promotion, and compensation of its faculty, and that compels
the university system to appoint, promote, and compensate its faculty in a color-blind

and sex-neutral manner.
    24. Professor Lowery seeks this relief under Title VI, Title IX, 42 U.S.C.
§ 1983, and any other law that might supply a cause of action for the requested relief.

            COUNT 2 — V I O L A T I O N S O F 42 U.S.C. § 1981
    25. 42 U.S.C. § 1981(a) guarantees individuals the same right to make and en-

force contracts without regard to race. See 42 U.S.C. § 1981(a) (“All persons within
the jurisdiction of the United States shall have the same right in every State and Ter-
ritory to make and enforce contracts . . . as is enjoyed by white citizens”).
    26. 42 U.S.C. § 1981(a) protects whites (and Asians) on the same terms that it
protects “underrepresented” racial minorities. See McDonald v. Santa Fe Trail Trans-
portation Co., 427 U.S. 273, 295 (1976) (“[T]he Act was meant, by its broad terms,
to proscribe discrimination in the making or enforcement of contracts against, or in
favor of, any race.”).
    27. Texas A&M University is violating 42 U.S.C. § 1981(a) by discriminating
in favor of “underrepresented” minorities in its faculty hiring, and against whites and
Asians.
    28. Professor Lowery therefore seeks declaratory and injunctive relief that pro-
hibits the Texas A&M University System from discriminating on account of race in
the appointment, promotion, and compensation of faculty, and that compels the uni-
versity system to appoint, promote, and compensate faculty in a color-blind manner.
    29. Professor Lowery seeks this relief under 42 U.S.C. § 1983, as well as the
implied right of action that the Supreme Court has recognized to enforce 42 U.S.C.
§ 1981(a), and any other law that might supply a cause of action for the requested
relief. See Johnson v. Railway Express Agency, Inc., 421 U.S. 454, 459–60 (1975).




class-action complaint                                                          Page 6 of 8
               COUNT 3— EQUAL PROTECTION CLAUSE
    30. As a public university, Texas A&M is subject to the commands of the Equal
Protection Clause, which prohibits state universities from denying to any person the

equal protection of the laws.
    31. The Supreme Court has held that the Equal Protection Clause prohibits
race and sex discrimination by state universities in all but the most compelling situa-
tions. See Grutter v. Bollinger, 539 U.S. 306 (2003); United States v. Virginia, 518
U.S. 515, 531 (1996) (“Parties who seek to defend gender-based government action
must demonstrate an ‘exceedingly persuasive justification’ for that action.”).
    32. The holdings of Fisher v. University of Texas at Austin, 136 S. Ct. 2198
(2016), and Grutter v. Bollinger, 539 U.S. 306 (2003), which purport to permit racial
preferences in the context of public-university student admissions, are inapplicable to
faculty-hiring decisions.
    33. In all events, Texas A&M’s fixed set-asides for non-Asian racial minorities is
a constitutionally forbidden quota that fails even if one were to assume that Grutter
and Fisher govern a public university’s faculty-hiring decisions. See Grutter, 539 U.S.

at 328 (“[A] race-conscious admissions program cannot use a quota system”).
    34. Professor Lowery therefore seeks declaratory and injunctive relief that pro-
hibits the Texas A&M University System from discriminating on account of race and
sex in any manner outside the narrow context of student admissions.
    35. Professor Lowery seeks this relief under 42 U.S.C. § 1983 and any other
law that might supply a cause of action for the requested relief.

                            DEMAND FOR RELIEF
    36. Professor Lowery respectfully requests that the court:
         a.     certify the class described in paragraph 20;
         b.     declare that the Texas A&M University system is violating Title VI,
                Title IX, 42 U.S.C. § 1981(a), and the Equal Protection Clause by



class-action complaint                                                       Page 7 of 8
              discriminating in favor of women and non-Asian racial minorities in
              the appointment, promotion, and compensation its faculty;

       c.     permanently enjoin the Texas A&M University system from consid-
              ering race or sex in the appointment, promotion, or compensation of
              its faculty;
       d.     appoint a court monitor to oversee all decisions relating to the ap-
              pointment, promotion, and compensation of faculty at the Texas
              A&M University system to ensure that these decisions are free from
              race and sex discrimination of any sort, and require that all decisions
              relating to the appointment, promotion, and compensation of faculty
              at the Texas A&M University system be pre-cleared by this Court;
       e.     appoint a court monitor to oversee the “diversity office” at the Texas
              A&M University system to ensure that it does not aid or abet viola-
              tions of the nation’s civil-rights laws;
       f.     award costs and attorneys’ fees;
       g.     grant all other relief that the Court deems just, proper, or equitable.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
Gene P. Hamilton                            Jonathan F. Mitchell
Virginia Bar No. 80434                      Mitchell Law PLLC
Vice-President and General Counsel          111 Congress Avenue, Suite 400
America First Legal Foundation              Austin, Texas 78701
300 Independence Avenue SE                  (512) 686-3940 (phone)
Washington, DC 20003                        (512) 686-3941 (fax)
(202) 964-3721                              jonathan@mitchell.law
gene.hamilton@aflegal.org
                                            Counsel for Plaintiff
Dated: September 10, 2022                   and Proposed Class




class-action complaint                                                     Page 8 of 8
